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Attorneys for Defendant JPMorgan Chase Bank, N.A.

                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

 JONATHAN GOICOECHEA,
                                                 Civil Action No.: 3:23-cv-03900-RK-DEA
                                Plaintiff,

                  v.                             NOTICE OF DEFENDANT JPMORGAN
                                                 CHASE BANK, N.A.’S MOTION TO
                                                 DISMISS PLAINTIFF’S COMPLAINT

 JPMORGAN CHASE & CO.; and, JOHN
 DOES 1-5 AND 6-10,                              Motion Returnable: September 5, 2023

                                Defendants.



       PLEASE TAKE NOTICE that on September 5, 2023, or as soon thereafter as it may be

heard, Defendant JPMorgan Chase Bank, N.A. (incorrectly identified in the Complaint as “JP

Morgan Chase & Co.”) (“Defendant”), will move to dismiss Plaintiff’s Complaint under Federal

Rule of Civil Procedure 12(b)(6).

       PLEASE TAKE FURTHER NOTICE that, in support of this Motion, Defendant will

rely upon the accompanying Brief. Defendant also submits for the Court’s consideration a

Proposed Order.
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                                         Respectfully submitted,



 Dated: August 11, 2023                  MORGAN, LEWIS & BOCKIUS LLP

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                               CERTIFICATE OF SERVICE

       I hereby certify that on this date the foregoing Notice of Motion and accompanying Brief

and Proposed Order were served on all counsel of record via ECF.

 Dated: August 11, 2023                            /s/ Terry D. Johnson
                                                      Terry D. Johnson




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